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                                            THE CITY OF NEW YORK
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                                                                          January 11, 2018

       VIA ECF
       Honorable Jack B. Weinstein
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

                      Re:     DaCosta v. Tranchina, 1:15-cv-05174-JBW-RLM

       Your Honor:

              I am a Senior Counsel in the office of Zachary W. Carter, Corporation Counsel of the
       City of New York, representing defendant Fortunato Tranchina (“Tranchina”) in the above-
       referenced matter. Defendant Tranchina writes to respectfully inform the Court that he is filing a
       Notice of Appeal with respect to the Court’s December 12, 2017 Memorandum and Order
       concerning summary judgment today to preserve his rights as the deadline to file such a notice
       expires today.

               Thank you for your consideration in this regard.

                                                                    Respectfully,

                                                                    /s/ Kavin Thadani

                                                                    Kavin Thadani
                                                                    Senior Counsel
                                                                    Special Federal Litigation

       cc:     VIA ECF
               Kim Richman, Esq.
               Clark Binkley, Esq.
               Attorneys for Plaintiff
